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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



David Magerman,

                       Plaintiff,

       v.                                               Civil Action No. 2:17-cv-3490

Robert Mercer,

                       Defendant.


       DEFENDANT ROBERT MERCER’S MOTION FOR RULE 11 SANCTIONS

       Defendant Robert Mercer respectfully moves the Court to impose sanctions pursuant to

Federal Rule of Civil Procedure 11. As more fully set out in the attached memorandum of

points and authorities, the Complaint (Doc. 1) violates Rule 11(b)(2)’s bar on frivolous legal

claims and contentions, and violates Rule 11(b)(1)’s ban on filing a complaint for “any

improper purpose,” including harassment.

       Pursuant to Rule 11(c)(2), Defendant’s counsel provided this motion and the attached

memorandum of points and authorities to Plaintiff’s counsel on August 14, 2017. On August 31,

2017, Plaintiff’s current counsel requested a “short extension of the safe harbor period until

September 8,” “in order to meaningfully evaluate the Rule 11 Motion.” See Schwartz Decl.

Ex. I. Mercer assented to an extension through 5:00 p.m. on the requested day. See id.

Magerman refused to withdraw his Complaint.

       Accordingly, the Court should award appropriate sanctions pursuant to Rule 11,

including reasonable attorneys’ fees and costs, and dismiss the Complaint with prejudice.




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Dated: September 8, 2017        Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of September, 2017, I caused a copy of the foregoing

to be served upon all counsel of record via ECF.

                                            /s/ Randy M. Mastro
                                            Randy M. Mastro (pro hac vice)
